                                                                     Case No. 21-MJ-00129-WBG


                                           AFFIDAVIT

       I, Christopher M. Redies, being duly sworn, state under oath that:

       1.        I am a Special Agent (“SA”) of the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (“ATF”) and a Resident Agent in Charge (“RAC”) assigned to the Springfield,

Missouri, Field Office. I have been an ATF SA since July 2001, during which time I have

participated in numerous narcotics and firearms investigations, and numerous searches and

seizures related to narcotics and firearms. I have received specialized training on the subject of

firearms and narcotics trafficking from the ATF. I have been the affiant for multiple Title III wire-

tap affidavits in which illegal drugs and firearms were focuses of the investigation. Prior to

becoming an ATF SA, I worked as a police officer with the Kansas City, Missouri, Police

Department beginning in 1998.

       2.        This Affidavit contains information necessary to support probable cause for this

application. It is not intended to include every fact or matter observed by me or known by law

enforcement. The information provided is based on my personal knowledge and observation

during the course of this investigation, information conveyed to me by other law enforcement

officials, and my review of records, documents, and other physical evidence obtained during the

investigation.

       3.        On February 18, 2021, Corporal Michael Brandt of the Henry County, Missouri,

Sheriff’s Office (“HCSO”) received information that Ashley LILLY would be in Clinton,

Missouri, dropping off Thomas PITTS at the Probation and Parole Office. Law enforcement had

reason to believe LILLY may also be in possession of methamphetamine. Detective Kauffman

performed surveillance and observed a white Ford F-150 truck drop off an individual matching

PITTS’s description. Surveillance of the truck showed that it was occupied by two females—one



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driver and one passenger. The truck made its way to a business in Clinton, Henry County, Missouri,

and the two females went inside. One of the females was believed to be LILLY.

       4.      Corporal Brandt entered the business and made contact with the female he believed

to be LILLY. Initially LILLY ignored Corporal Brandt but, when directly confronted, stated that

her name was “Dara McKnealy.” Corporal Brandt asked LILLY to exit the store with him and she

complied. Once outside, Corporal Brandt requested identification from LILLY, which she was

unable to produce. Instead, LILLY provided a false name and date of birth. When asked if she had

a credit or debit card bearing her name, LILLY stated that she did not. Meanwhile, HCSO Corporal

Ethan Logan arrived at the scene with a portable fingerprint scanner and LILLY agreed to have

her fingerprints scanned. The scanner confirmed LILLY’s identity and she was placed under arrest

on active warrants.

       5.      Corporal Brandt also spoke with the other female (driver) who left the Ford F-150

and entered the clothing store, identified as T.M. T.M. insisted she knew LILLY as “Dara” and

would not provide consent to search the Ford F-150. A K9 unit (“Cesar”) was deployed on the

Ford F-150 and alerted to the odor of controlled substances within. A search of the vehicle was

conducted, during which law enforcement discovered a purse containing financial transaction

cards bearing LILLY’s name. A further search of the purse yielded two plastic bags of suspected

methamphetamine inside of a black sunglasses case. The contraband was seized and secured as

evidence. The suspected methamphetamine field-tested positive and weighed a total of

approximately 119 grams. Based upon my training and experience, I am aware that this quantity

of methamphetamine is inconsistent with possession solely for personal use.

       6.      On February 22, 2021, ATF Task Force Officer (“TFO”) Chase Jackson advised

LILLY of her status as a target of an investigation. LILLY became distraught and expressed fear



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of PITTS. Without prompting, LILLY informed TFO Jackson that “he” (in an apparent reference

to PITTS in the context of the conversation) put the methamphetamine in her purse that was

discovered by HCSO deputies on February 18, 2021.

       7.     On March 17, 2021, a federal grand jury seated in Kansas City, Missouri, returned

an indictment charging LILLY with conspiracy to distribute 50 grams or more of actual

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A) and 846; distribution of

five grams or more of actual methamphetamine, in violation of 21 U.S.C. § 841(a)(1) and

(b)(1)(B); and possession with the intent to distribute 50 grams or more of actual

methamphetamine, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(A). The aforementioned

charges were based, in part, on LILLY’s conduct on February 18, 2021.

       8.     On October 6, 2021, a confidential informant (“CI”) and an ATF undercover

(“UC”) SA went to 20630 Chmelir Road, Ionia, Pettis County, Missouri, with the intent to

purchase methamphetamine from PITTS. Prior to the meeting with PITTS, CI was searched for

money, weapons, and drugs, with negative results. CI was provided funds by ATF to purchase

methamphetamine. UC also had funds to purchase methamphetamine.

       9.     Upon arrival at 20630 Chmelir Road, CI and UC met with PITTS inside his

residence. CI requested to purchase methamphetamine from PITTS. PITTS exited the residence

and went outside. After some time, PITTS came back inside 20630 Chmelir Road. After PITTS

returned to the residence, CI purchased approximately 28.8 grams of suspected methamphetamine

from PITTS for $700 provided by ATF. UC was present when the purchase occurred between CI

and PITTS. UC observed PITTS remove the methamphetamine from one plastic bag and place it

into a separate plastic baggie. UC estimated that, after PITTS removed the methamphetamine he

sold to CI, there was at least an additional two ounces (approximately 56.7 grams) of



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methamphetamine remaining in the original bag where PITTS obtained the methamphetamine.

UC and CI left 20630 Chmelir Road. After leaving, CI provided the purchased methamphetamine

to UC. CI was searched for money and additional drugs, with negative results. The suspected

methamphetamine field tested positive for the presence of methamphetamine, and was found to

weigh approximately 28.8 grams, including packaging.

       10.    On October 28, 2021, a CI and an ATF UC SA again went to 20630 Chmelir Road

with the intent to purchase methamphetamine from PITTS. Prior to the meeting with PITTS, CI

was searched for money, weapons, and drugs, with negative results. CI was provided funds by

ATF to purchase methamphetamine. UC also had funds to purchase methamphetamine.

       11.    Upon arrival at 20630 Chmelir Road, CI and UC met with PITTS inside the

residence. CI requested to purchase methamphetamine from PITTS. CI and UC purchased

approximately 57.6 grams of suspected methamphetamine from PITTS for $900 in funds provided

by ATF. UC was present when the purchase occurred with PITTS. UC observed PITTS remove

the methamphetamine from a container with additional methamphetamine located inside it. UC

estimated the additional methamphetamine inside the container to be approximately the size of a

softball. UC and CI left 20630 Chmelir Road. After leaving, CI provided the purchased

methamphetamine to UC. CI was searched for money and additional drugs, with negative results.

The suspected methamphetamine field tested positive for the presence of methamphetamine, and

was found to weigh approximately 57.6 grams, including packaging.

       12.    A debrief of CI was conducted after leaving 20630 Chmelir Road. CI said (s)he

observed PITTS remove the methamphetamine from a safe. CI said (s)he observed two firearms

inside the safe with the methamphetamine. CI described both firearms as being handguns. CI said




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one handgun was gray and the other handgun was black. CI further stated (s)he observed a black

handgun in the back of PITTS’s waistband when he sold the methamphetamine to CI and UC.

       13.     The meeting on October 6, 2021, was audio recorded; video recording was

attempted but unsuccessful due to equipment failure. The meeting on October 28, 2021, was audio

and video recorded. The recordings were reviewed by UC and found to be consistent with the

information provided herein.

       14.     Based upon my training and experience, and for the reasons expressed above, I

believe that PITTS has committed the following criminal acts in violation of federal law:

possession with the intent to distribute 50 grams or more of a mixture or substance containing a

detectable amount of methamphetamine, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(B); and

distribution of a mixture or substance containing a detectable amount of methamphetamine, in

violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C).

       FURTHER AFFIANT SAYETH NAUGHT.
                                                                         Digitally signed by CHRISTOPHER
                                             CHRISTOPHER REDIES      REDIES
                                             ______________________________________
                                                                     Date: 2021.11.12 13:11:28 -06'00'

                                             Christopher M. Redies
                                             Special Agent / Resident Agent in Charge
                                             Bureau of Alcohol, Tobacco, Firearms, and
                                             Explosives

       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone or other reliable electronic means on this 15th
                                                     ____day of November 2021.
                                                                  By telephone at 11:27 am


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HONORABLE W. BRIAN GADDY
United States Magistrate Judge
Western District of Missouri




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